                                                                                          E-FILED
                                                     Wednesday, 03 December, 2008 11:53:30 AM
                                                                   Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                              Plaintiff,   )
                                           )
    vs.                                    )   No. CR08- 20064
                                           )
ROBERT P. GEEKIE JR.                       )   Title 18, United States Code,
                                           )   Sections 2312, 2313, & 2314.
                              Defendant.   )

                                     INDICTMENT

                                     COUNT ONE
                 (Interstate Transportation of Property Taken by Fraud)

THE GRAND JURY CHARGES:

       1.     From about January 31, 2007, and continuing to at least August 26, 2008,

in Kankakee County, Champaign County, and McLean County, in the Central District

of Illinois, and elsewhere,

                                  ROBERT P. GEEKIE JR.,

defendant herein, knowingly devised a scheme and artifice to take goods, wares, and

merchandise, namely motor vehicles, by fraud, and transport them in interstate

commerce.

The Scheme

       2.     It was a part of the scheme that GEEKIE approached individuals who

were selling motor vehicles. GEEKIE falsely identified himself to those individuals and

made false and fraudulent representations as to why he wanted to test drive the

vehicles, such as to show the vehicles to a relative or take them to be examined by a
mechanic. GEEKIE then drove away in the vehicles and never returned.

       3.     It was further part of the scheme that GEEKIE would drive the vehicles

taken by fraud to the location of other individuals who were selling motor vehicles.

GEEKIE falsely identified himself to those individuals and made false and fraudulent

representations as to why he wanted to test drive the vehicles. As part of the scheme,

he would induce those individuals to let him test drive those vehicles by leaving the

vehicles he had previously taken by fraud with those individuals. GEEKIE then drove

away in the vehicles and never returned.

       4.     It was further part of the scheme that GEEKIE would transport the

vehicles he took by fraud in interstate commerce and advertise them for sale at a price

below market value. GEEKIE met with individuals interested in purchasing the

vehicles and falsely identified himself. GEEKIE sold the vehicles to those individuals

for cash and provided the individuals with a fraudulent car title.

Execution of the Scheme

       5.     On or about May 18, 2007, GEEKIE identified himself as "William Lutz"

and asked to test drive a 204 Jeep Cherokee that L.H. of Cartersville, Georgia was

selling and take it to Goodyear for inspection. GEEKIE drove away in the Jeep

Cherokee and never returned. GEEKIE advertised the Jeep Cherokee for sale in the St.

Louis Post-Dispatch. On May 27, 2007, GEEKIE, identifying himself as "Lloyd

Roberts/' sold the Jeep Cherokee to 5.5. at Luv's Truck Stop in Springfield, Sangamon

County, Illinois for $8,000 cash and provided 5.5. with a fraudulent Illinois title for the

Jeep Cherokee.



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       6.     On or about May 18, 2007, to May 27, 2007, in Sangamon County, in the

Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce goods, wares, and

merchandise, namely a 2004 Jeep Cherokee, of the value of $5,000 or more, knowing the

same to have been taken by fraud.

       In violation of Title 18, United States Code, Section 2314.

                                      COUNT TWO
                                  (Sale of Stolen Vehicle)

THE GRAND JURY CHARGES:

       On or about May 27, 2007, in Sangamon County, in the Central District of Illinois,

                                 ROBERT P. GEEKIE JR.,

defendant herein, sold a motor vehicle, namely, a 2004 Jeep Cherokee, which had

crossed a state boundary after being stolen, knowing the same to have been stolen.

       In violation of Title 18, United States Code, Section 2313.

                                    COUNT THREE
                 (Interstate Transportation of Property Taken by Fraud)

THE GRAND JURY CHARGES:

      1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

      5.      On or about July 26, 2007, GEEKIE asked to test drive a 1998 Oldsmobile

Aurora that A.G. of Norcross, Georgia was selling and take it for a test drive. GEEKIE

drove away in the Oldsmobile Aurora and never returned. On or about August 3, 2007,



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GEEKIE asked to test drive a 2004 Chevrolet Silverado that c.P. of Atlanta, Georgia was

selling and take it for a test drive. GEEKIE left the Oldsmobile Aurora he had taken by

fraud and drove away in the Chevrolet Silverado and never returned. GEEKIE

advertised the Chevrolet Silverado for sale in the Bloomington (Illinois) Pantagraph.

On or about August 20, 2007, GEEKIE, identifying himself as liEd Taylor," sold the

Chevrolet Silverado to T.K. at Eastland Mall in Bloomington, McLean County, Illinois

for $13,500 cash and provided T.K. with a fraudulent Illinois title for the Chevrolet

Silverado.

        6.     On or about July 26, 2007, to August 20, 2007, in McLean County, in the

Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce goods, wares, and

merchandise, namely a 2004 Chevrolet Silverado, of the value of $5,000 or more,

knowing the same to have been taken by fraud.

        In violation of Title 18, United States Code, Section 2314.

                                       COUNT FOUR
                                   (Sale of Stolen Vehicle)

THE GRAND JURY CHARGES:

        On or about August 20,2007, in McLean County, in the Central District of

Illinois,

                                 ROBERT P. GEEKIE JR.,

defendant herein, sold a motor vehicle, namely, a 2004 Chevrolet Silverado, which had

crossed a state boundary after being stolen, knowing the same to have been stolen.

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       In violation of Title 18, United States Code, Section 2313.

                                       COUNT FIVE
                        (Interstate Transportation of Stolen Vehicle)

THE GRAND JURY CHARGES:

       1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

       5.      On or about August 27, 2007, GEEKIE identified himself as "Leon Taylor"

and asked to test drive a 1999 Chrysler Town & Country LXi van that K.c. of

Champaign, Champaign County, Illinois was selling and take it for a test drive to

Goodyear to have the tires checked. GEEKIE drove away in the Chrysler van and never

returned. Later on or about August 27, 2007, GEEKIE identified himself as "Leon

Taylor" and asked to test drive a 2003 Chevrolet Silverado that N.G. of Kokomo,

Indiana was selling and take it to have it inspected. GEEKIE left the Chrysler van that

he had taken by fraud and drove away in the Chevrolet Silverado and never returned.

GEEKIE advertised the Chevrolet Silverado for sale in the Huntsville (Alabama) Times.

On or about August 31, 2007, GEEKIE, identifying himself as "Reese Morrison" sold the

Chevrolet Silverado to D.W. at Krystal's hamburgers in Scottsboro, Alabama for $13,500

cash and provided D.W. with a fraudulent Georgia title for the Chevrolet Silverado.

       6.      On or about August 27, 2007, in Champaign County, in the Central

District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce a motor vehicle,

namely a 1999 Chrysler Town & Country LXi van, knowing the same to have been

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stolen.

          In violation of Title 18, United States Code, Section 2312.

                                          COUNT SIX
                     (Interstate Transportation of Property Taken by Fraud)

THE GRAND JURY CHARGES:

          1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

          5.      On or about December 6, 2007, GEEKIE identified himself as "Stephen

Littleton" and asked to test drive a 2005 Chevrolet Silverado that J.W. of Gray, Georgia

was selling and take it to Pep Boys to have it inspected. GEEKIE drove away in the

Chevrolet Silverado and never returned. GEEKIE advertised the Chevrolet Silverado

on AutoTrader.com. On or about January 2, 2008, GEEKIE identified himself as " Al

Owens" and sold the Chevrolet Silverado to W.W. at Krystal's hamburgers in

Chattanooga, Tennessee in exchange for $6,500 cash and a 2000 Jeep Cherokee that

W.W. owned. GEEKIE gave W.W. a fraudulent Georgia title for the Chevrolet

Silverado and drove away in the Jeep Cherokee. GEEKIE advertised the Jeep Cherokee

for sale in the Bloomington (Illinois) Pantagraph. On or about January 16, 2008,

GEEKIE, identifying himself as "Michael Ranier," sold the Jeep Cherokee to JS. at Wal-

Mart in Champaign, Champaign County, Illinois for $6,500 cash and provided JS. with

a fraudulent Illinois title for the Jeep Cherokee.

          6.      On or about January 2, 2007, to January 16, 2007, in Champaign County, in

the Central District of Illinois, and elsewhere,

                                   ROBERT P. GEEKIE JR.,

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defendant herein, did knowingly transport in interstate commerce goods, wares, and

merchandise, namely a 2000 Jeep Cherokee of the value of $5,000 or more, knowing the

same to have been taken by fraud.

        In violation of Title 18, United States Code, Section 2314.

                                      COUNT SEVEN
                                   (Sale of Stolen Vehicle)

THE GRAND JURY CHARGES:

        On or about January 16, 2007, in Champaign County, in the Central District of

Illinois,

                                 ROBERT P. GEEKIE JR.,

defendant herein, sold a motor vehicle, namely, a 2000 Jeep Cherokee, which had

crossed a state boundary after being stolen, knowing the same to have been stolen.

        In violation of Title 18, United States Code, Section 2313.

                                      COUNT EIGHT
                        (Interstate Transportation of Stolen Vehicle)

THE GRAND JURY CHARGES:

        1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

        5.      On or about January 20, 2008, GEEKIE identified himself as "Flanders"

and asked to test drive a 1999 Chevrolet Silverado that D.P. of Normal, Illinois was

selling in McLean County, Illinois and take it to Eastland Mall to show his wife.

GEEKIE drove away in the Chevrolet Silverado and never returned. Later on or about

January 30,2008, GEEKIE identified himself as "Tom" and asked to test drive a 2005



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Nissan Maxima that S.S. and C.S. of Scottsboro, Alabama were selling and take it to

show his mother-in-law. GEEKIE left the Chevrolet Silverado van that he had stolen,

drove away in the Nissan Maxima, and never returned. GEEKIE advertised the Nissan

Maxima for sale on AutoTrader.com. On or about February 13, 2008, GEEKIE,

identifying himself as "Robert Harding," sold the Nissan Maxima to J.O. at McDonald's

in Bradley, Kankakee County, Illinois for $12,000 cash and provided J.O. with a

fraudulent Illinois title for the Nissan Maxima.

       6.      On or about January 20, 2008, to January 30, 2008, in McLean County, in

the Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce a motor vehicle,

namely a 1999 Chevrolet Silverado, knowing the same to have been stolen.

       In violation of Title 18, United States Code, Section 2312.

                                      COUNT NINE
                  (Interstate Transportation of Property Taken by Fraud)

THE GRAND JURY CHARGES:

       1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

       5.      The Grand Jury re-alleges and incorporates by reference Paragraph 5 of

Count Eight of this Indictment as though fully set forth herein.

       6.      On or about January 30,2008, to February 13, 2008, in Kankakee County,

in the Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,


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defendant herein, did knowingly transport in interstate commerce goods, wares, and

merchandise, namely a 2005 Nissan Maxima of the value of $5,000 or more, knowing

the same to have been taken by fraud.

        In violation of Title 18, United States Code, Section 2314.

                                        COUNT TEN
                                   (Sale of Stolen Vehicle)

THE GRAND JURY CHARGES:

        On or about February 13, 2008, in Kankakee County, in the Central District of

Illinois,

                                 ROBERT P. GEEKIE JR.,

defendant herein, sold a motor vehicle, namely, a 2005 Nissan Maxima, which had

crossed a state boundary after being stolen, knowing the same to have been stolen.

        In violation of Title 18, United States Code, Section 2313.

                                      COUNT ELEVEN
                        (Interstate Transportation of Stolen Vehicle)

THE GRAND JURY CHARGES:

        1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

        5.      On or about February 29, 2008, GEEKIE identified himself as "Robert

Harding" and asked to test drive a 1997 Ford Crown Victoria that B.N. of Savoy, Illinois

was selling in Champaign County, Illinois and take it to Goodyear or Sears to have it

inspected. GEEKIE drove away in the Ford Crown Victoria and never returned. On or

about March 13,2008, GEEKIE identified himself as "Don" and asked to test drive a



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2005 Honda Accord that RK. of Buford, Georgia was selling. GEEKIE left the Ford

Crown Victoria that he had stolen, drove away in the Honda Accord, and never

returned. GEEKIE advertised the Honda Accord for sale in the St. Louis Post-Dispatch.

On or about March 24,2008, GEEKIE, identifying himself as "Marne Smith," sold the

Honda Accord to N.A. at Dairy Queen in Sherman, Sangamon County, Illinois for

$14,000 cash and provided N.A. with a fraudulent Illinois title for the Honda Accord.

       6.      On or about February 29, 2008, to March 13,2008, in Champaign County,

in the Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce a motor vehicle,

namely a 1997 Ford Crown Victoria, knowing the same to have been stolen.

       In violation of Title 18, United States Code, Section 2312.

                                     COUNT TWELVE
                  (Interstate Transportation of Property Taken by Fraud)

THE GRAND JURY CHARGES:

       1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

       5.      The Grand Jury re-alleges and incorporates by reference Paragraph 5 of

Count Eleven of this Indictment as though fully set forth herein.

       6.      On or about March 13,2008, to March 24, 2008, in Sangamon County, in

the Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce goods, wares, and

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merchandise, namely a 2005 Honda Accord of the value of $5,000 or more, knowing the

same to have been taken by fraud.

        In violation of Title 18, United States Code, Section 2314.

                                    COUNT THIRTEEN
                                   (Sale of Stolen Vehicle)

THE GRAND JURY CHARGES:

        On or about March 24,2008, in Sangamon County, in the Central District of

Illinois,

                                  ROBERT P. GEEKIE JR.,

defendant herein, sold a motor vehicle, namely, a 2005 Honda Accord, which had

crossed a state boundary after being stolen, knowing the same to have been stolen.

        In violation of Title 18, United States Code, Section 2313.

                                    COUNT FOURTEEN
                   (Interstate Transportation of Property Taken by Fraud)

THE GRAND JURY CHARGES:

        1.-4.   The Grand Jury re-alleges and incorporates by reference Paragraphs 1 to 4

of Count One of this Indictment as though fully set forth herein.

        5.      On or about July 15, 2008, GEEKIE asked to test drive a 1997 Jeep

Cherokee that e.G. of Doraville, Georgia was selling. GEEKIE drove away in the Jeep

Cherokee and never returned. On or about August 6, 2008, GEEKIE asked to test drive

a 2005 Toyota Camry that v.G. of Alpharetta, Georgia was selling. GEEKIE left the Jeep

Cherokee that he had taken by fraud, drove away in the Toyota Camry, and never

returned. GEEKIE advertised the Toyota Camry in the Bloomington (Illinois)



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Pantagraph. On or about August 25, 2008, GEEKIE identified himself as "Donald

Martin" and sold the Toyota Camry to D.A. and L.A. at Eastland Mall in Bloomington,

Illinois in exchange for $9,850 cash and a 2001 Chevrolet Impala that D.A. and L.A.

owned. GEEKIE gave D.A. and L.A. a fraudulent Illinois title for the Toyota Camry and

drove away in the Chevrolet Impala. On or about August 26, 2008, GEEKIE identified

himself as "Donald Martin" and asked to test drive a 2005 Nissan Maxima that D.M. of

Rockdale, Illinois was selling. GEEKIE left the Chevrolet Impala that he had taken by

fraud, drove away in the Nissan Maxima, and never returned.

        6.     On or about August 6,2008, to August 25,2008, in McLean County, in the

Central District of Illinois, and elsewhere,

                                 ROBERT P. GEEKIE JR.,

defendant herein, did knowingly transport in interstate commerce goods, wares, and

merchandise, namely a 2005 Toyota Camry of the value of $5,000 or more, knowing the

same to have been taken by fraud.

        In violation of Title 18, United States Code, Section 2314.

                                     COUNT FIFTEEN
                                   (Sale of Stolen Vehicle)

THE GRAND JURY CHARGES:

        On or about August 25, 2008, in McLean County, in the Central District of

Illinois,

                                 ROBERT P. GEEKIE JR.,

defendant herein, sold a motor vehicle, namely, a 2005 Toyota Camry, which had

crossed a state boundary after being stolen, knowing the same to have been stolen.

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       In violation of Title 18, United States Code, Section 2313.


                                          A TRUE BILL.

                                          s/ Foreperson

                                          FOREPERSON
s/Jeffrey B Lang




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